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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              SOUTH BEND DIVISION

JAMES CLETIS SEGARS,                      ]
                                          ]
             Petitioner                   )
                                          )
      v.                                  )   CAUSE NO. 3:05-CV-780 RM
                                          )   (Arising from 3:91-CR-00002(01)RM)
UNITED STATES OF AMERICA,                 ]
                                          ]
      Respondent                          )

                               OPINION AND ORDER

      On December 12, James Segars filed a petition under 28 U.S.C. § 2241,

which makes various arguments pursuant to 28 U.S.C. § 2255. To the extent Mr.

Segars files a 28 U.S.C. § 2241 petition, it is filed in the wrong court. 28 U.S.C. §

2241(d). To the extent Mr. Segars files a 28 U.S.C. § 2255 petition, it is DENIED

as an improperly filed second or successive petition [Doc. No. 684 on 91cr002;

Doc. No. 1 on 05cv780]. 28 U.S.C. § 2244 (Before a second or successive motion

is filed with the district court, “the applicant shall move in the appropriate court

of appeals for an order authorizing the district court to consider the application.”).

      SO ORDERED.

      ENTERED: December 19, 2005

                                       /s/ Robert L. Miller, Jr.
                                       Chief Judge
                                       United States District Court

cc:   J. Segars
      B. Brook
